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Thomas F. Meagher
Michael D. Loughnane
Alan Christopher Pattillo
Meagher Emanuel Laks Goldberg & Liao, LLP
One Palmer Square
Suite 325
Princeton, NJ 08542
Tel: (609) 454-3500

Attorneys for Rapidsoft Systems Inc.

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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY
                                 TRENTON DIVISION

SOCIAL POSITIONING INPUT              §
SYSTEMS, LLC,                         §            Case No: 3:21-cv-11630-FLW-TJB
                                      §            Motion Day: November 1, 2021
      Plaintiff,                      §
                                      §            NOTICE OF MOTION TO DISMISS
vs.                                   §
                                      §
RAPIDSOFT SYSTEMS, INC.               §
                                      §
      Defendant.                      §
_____________________________________ §




       PLEASE TAKE NOTICE that on November 1, 2021, or at such time designated by the

Court, Defendant Rapidsoft Systems, Inc. (“Rapidsoft”) through their undersigned counsel, will

move the Honorable Freda L. Wolfson, Chief Judge, at the United States District Court for the

District of New Jersey, Clarkson S. Fisher Building & U.S. Courthouse, 402 East State Street,

Courtroom 5E, Trenton, NJ 08608 for an order granting Rapidsoft’s Motion to Dismiss Plaintiff

Social Positioning Input Systems, LLC’s (“Social Positioning[’s]”) Complaint pursuant to

Federal Rule of Civil Procedure 12(b)(6) and 35 U.S.C. § 101.
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        PLEASE TAKE FURTHER NOTICE that, in support of their motion, Rapidsoft relies

upon the accompanying Memorandum of Law together with all pleadings and proceedings on

file in this matter.



Dated: October 8, 2021                          By: /s/ Thomas F. Meagher________
                                                MEAGHER EMANUEL LAKS
                                                GOLDBERG & LIAO, LLP
                                                Thomas F. Meagher
                                                tmeagher@meagheremanuel.com
                                                Michael D. Loughnane
                                                mloughnane@meagheremanuel.com
                                                Alan Christopher Pattillo
                                                cpattillo@meagheremanuel.com
                                                One Palmer Square
                                                Suite 325
                                                Princeton, NJ 08542
                                                Tel: (609) 454-3500

                                                Attorneys for Rapidsoft Systems Inc.




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